                      Case 2:12-cr-00315-JAM Document 699 Filed 10/05/18 Page 1 of 11
AO 245C-CAED (Rev. 02/2018) Sheet 1 - Amended Judgment in a Criminal Case      (NOTE: Identify Changes with Asterisks*)



                              UNITED STATES DISTRICT COURT
                                                   Eastern District of California
                UNITED STATES OF AMERICA                                     FIRST AMENDED JUDGMENT IN A CRIMINAL CASE
                           v.                                                Case Number: 2:12CR00315-1
                      LEE LOOMIS                                             Defendant's Attorney: Pro Per
 Date of Original Judgment:              February 06, 2018
 (Or Date of Last Amended Judgment)

Reason for Amendment:
   Correction of Sentence on Remand ( 18 U.S.C. 3742(f)(1) and (2))           Modification of Supervision Conditions (18 U.S.C. § 3563(c) or 3583(e))
                                                                              Modification of Imposed Term of Imprisonment for Extraordinary and
   Reduction of Sentence for Changed Circumstances (Fed R. Crim. P. 35(b))
                                                                              Compelling Reasons (18 U.S.C. § 3582(c)(1))
                                                                              Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
   Correction of Sentence by Sentencing Court (Fed R. Crim. P. 35(a))
                                                                              to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
   Correction of Sentence for Clerical Mistake (Fed R. Crim. P. 36)           Direct Motion to District Court Pursuant to   28 U.S.C. §2255,
                                                                                   18 U.S.C. §3559(c)(7),    Modification of Restitution Order
THE DEFENDANT:
     pleaded guilty to count 13 of the First Superseding Indictment.
     pleaded nolo contendere to count(s)      , which was accepted by the court.
     was found guilty on count(s)     after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                   Nature of Offense                                                               Offense Ended          Count
18 USC § 1343                            Wire fraud (Class C Felony)                                              3/26/2008              13

       The defendant is sentenced as provided in pages 2 through 11 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

     The defendant has been found not guilty on count(s)      .
     Counts 1-12, 14-50 are dismissed on the motion of the United States.
     Indictment is to be dismissed by District Court on motion of the United States.
     Appeal rights given.                      Appeal rights waived.

        It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution or fine, the defendant must notify the court and United States attorney of material changes in economic
circumstances.
                                                                             9/25/2018
                                                                             Date of Imposition of Judgment
                                                                             /s/ John A. Mendez
                                                                             Signature of Judicial Officer
                                                                             John A. Mendez, United States District Judge
                                                                             Name & Title of Judicial Officer
                                                                             10/5/2018
                                                                             Date
                     Case 2:12-cr-00315-JAM Document 699 Filed 10/05/18 Page 2 of 11
AO 245B-CAED (Rev. 02/2018) Sheet 2 - Imprisonment
DEFENDANT: LEE LOOMIS                                                                                                     Page 2 of 11
CASE NUMBER: 2:12CR00315-1

                                                           IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
144 months.

      No TSR: Defendant shall cooperate in the collection of DNA.

      The court makes the following recommendations to the Bureau of Prisons:

      The defendant is remanded to the custody of the United States Marshal.

       The defendant shall surrender to the United States Marshal for this district
              at     on     .
              as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               before       on    .
               as notified by the United States Marshal.
               as notified by the Probation or Pretrial Services Officer.
       If no such institution has been designated, to the United States Marshal for this district.

                                                                 RETURN
I have executed this judgment as follows:




        Defendant delivered on                                                        to
at                                                   , with a certified copy of this judgment.



                                                                        United States Marshal


                                                                        By Deputy United States Marshal
                     Case 2:12-cr-00315-JAM Document 699 Filed 10/05/18 Page 3 of 11
AO 245B-CAED (Rev. 02/2018) Sheet 3 - Supervised Release
DEFENDANT: LEE LOOMIS                                                                                                         Page 3 of 11
CASE NUMBER: 2:12CR00315-1

                                                           SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :
36 months.

                                                    MANDATORY CONDITIONS
You must not commit another federal, state or local crime.
You must not unlawfully possess a controlled substance.
You must refrain from any unlawful use of controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two (2) periodic drug tests thereafter, not to exceed four (4) drug tests per month.


      The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future substance
      abuse.

      You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
      restitution.

      You must cooperate in the collection of DNA as directed by the probation officer.

      You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
      directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
      reside, work, are a student, or were convicted of a qualifying offense.

      You must participate in an approved program for domestic violence.

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page.
                     Case 2:12-cr-00315-JAM Document 699 Filed 10/05/18 Page 4 of 11
AO 245B-CAED (Rev. 02/2018) Sheet 3 - Supervised Release
DEFENDANT: LEE LOOMIS                                                                                                         Page 4 of 11
CASE NUMBER: 2:12CR00315-1

                                        STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.       You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
         release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a
         different time frame.
2.       After initially reporting to the probation office, you will receive instructions from the Court or the probation officer about
         how and when you must report to the probation officer, and you must report to the probation officer as instructed.
3.       You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
         from the Court or the probation officer.
4.       You must answer truthfully the questions asked by the probation officer.
5.       You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
         living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
         change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the
         probation officer within 72 hours of becoming aware of a change or expected change.
6.       You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
         officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.       You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses
         you from doing so. If you do not have full-time employment, you must try to find full-time employment, unless the probation
         officer excuses you from doing so. If you plan to change where you work or anything about your work (such as your position
         or your job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the
         probation officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation
         officer within 72 hours of becoming aware of a change or expected change.
8.       You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
         been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
         permission of the probation officer.
9.       If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.      You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
         that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person, such as
         nunchakus or tasers).
11.      You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
         without first getting the permission of the Court.
12.      If the probation officer determines that you pose a risk to another person (including an organization), the probation officer
         may require you to notify the person about the risk and you must comply with that instruction. The probation officer may
         contact the person and confirm that you have notified the person about the risk.
13.      You must follow the instructions of the probation officer related to the conditions of supervision.
                                                     U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature _____________________________ Date _________________
                     Case 2:12-cr-00315-JAM Document 699 Filed 10/05/18 Page 5 of 11
AO 245B-CAED (Rev. 02/2018) Sheet 3 - Supervised Release
DEFENDANT: LEE LOOMIS                                                                                                             Page 5 of 11
CASE NUMBER: 2:12CR00315-1

                                          SPECIAL CONDITIONS OF SUPERVISION
1.       The defendant shall submit to the search of his person, property, home, and vehicle by a United States probation officer, or
         any other authorized person under the immediate and personal supervision of the probation officer, based upon reasonable
         suspicion, without a search warrant. Failure to submit to a search may be grounds for revocation. The defendant shall warn
         any other residents that the premises may be subject to searches pursuant to this condition.
2.       The defendant shall not dispose of or otherwise dissipate any of his assets until the fine and/or restitution ordered by this
         Judgment is paid in full, unless the defendant obtains approval of the Court or the probation officer.
3.       The defendant shall apply all monies received from income tax refunds, lottery winnings, inheritance, judgments and any
         anticipated or unexpected financial gains to any unpaid restitution ordered by this Judgment.
4.       The defendant shall provide the probation officer with access to any requested financial information.
5.       The defendant shall not open additional lines of credit without the approval of the probation officer.
                     Case 2:12-cr-00315-JAM Document 699 Filed 10/05/18 Page 6 of 11
AO 245B-CAED (Rev. 02/2018) Sheet 5 - Criminal Monetary Penalties
DEFENDANT: LEE LOOMIS                                                                                                            Page 6 of 11
CASE NUMBER: 2:12CR00315-1

                                              CRIMINAL MONETARY PENALTIES

        The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                       Assessment                      Fine                     Restitution
         TOTALS                                         $100.00                        $0.00                   $9,963,155.04
      The determination of restitution is deferred until            . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

      The Court orders the defendant to pay restitution to the victim(s) as outlined in the Restitution Attachment on Sheet 5B.

      In addition, the Court gives notice that this case involves other defendants, or may involve other defendants, who may be held
      jointly and severally liable for payment of all or part of the restitution ordered herein and may order such payment in the
      future. Such future orders do not increase the amount of restitution ordered against the defendant.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
      otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
      victims must be paid before the United States is paid.

      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
      the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
      subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

             The interest requirement is waived for the                fine         restitution

             The interest requirement for the               fine         restitution is modified as follows:


      If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter and payment shall be
      through the Bureau of Prisons Inmate Financial Responsibility Program.

      If incarcerated, payment of the restitution is due during imprisonment at the rate of not less than $25 per quarter and payment
      shall be through the Bureau of Prisons Inmate Financial Responsibility Program.
*Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
                     Case 2:12-cr-00315-JAM Document 699 Filed 10/05/18 Page 7 of 11
AO 245B-CAED (Rev. 02/2018) Sheet 5B - Criminal Monetary Penalties
DEFENDANT: LEE LOOMIS                                                                                       Page 7 of 11
CASE NUMBER: 2:12CR00315-1

                                                     RESTITUTION PAYMENTS
Restitution of $9,963,155.04, jointly and severally with co-defendant John Hagener (2:12-cr-00315-2), to:
AVINASH AND SEEMA JOSHI                                              BRADLEY & MICHELE KRUEGER
SUNNYVALE, CA 94087                                                  FORT WAYNE, IN 46804
$60,000.00                                                           $31,000.00
CARL & ABBIE KURTH                                                   CAROL PRATT
ORLAND, CA 95963                                                     ROSEVILLE, CA 95678
$10,000.00                                                           $145,969.44
CHRISTOPHER & MEGAN GOHL                                             CRAIG AND JUDITH DANIELS
MONROE, WA 98272                                                     EL DORADO, CA 95762
$100,000.00                                                          $194,899.46
CRAIG SHEPHERD                                                       DANIEL HOOPER
CHICO, CA 95926                                                      NA, PA 18064
$38,500.00                                                           $20,000.00
DAVID & DEBBIE TEJA                                                  DAVID & LINDA BAILEY
CHICO, CA 95939                                                      SAN JOSE, CA 95120
$100,646.56                                                          $242,019.03
DAVID C NEILSON II AND TANNA NEILSEN                                 DEBORAH & JASON ELLIOTT
OROVILLE, CA 95966-3747                                              CHICO, CA 95926
$26,982.39                                                           $25,000.00
DEBORAH LAIN                                                         DEBRA HOOPER
SEATTLE, WA 98115                                                    NAZARETH, PA 18064
$50,000.00                                                           $22,000.00
DERK RICKETTS                                                        DIANE & RONALD TUNNELL
CHICO, CA 95973                                                      EVERETT, WA 98201
$32,000.00                                                           $187,289.42
DMITRY DRAKOVICH                                                     DONNA VIAL
SCHAUMBURG, IL 60193                                                 MOKELUMNE, CA 95245
$96,368.11                                                           $87,934.24
DUANE & KAYE BAYLESS                                                 ERNEST P. SANCHEZ
WEAVERVILLE, CA 96093                                                SACRAMENTO, CA 95842
$40,000.00                                                           $45,618.32
FLORENCE FASCIANO                                                    FRANK ZORRILLA
LAKE BARRINGTON, IL 60010                                            HOFFMAN ESTATES, IL 60169
$170,600.00                                                          $85,000.00
GEORGE AND JAN YAO-SHI                                               GEORGE KELLY GORTON
LINCOLNSHIRE, IL 60069                                               COTTONWOOD HEIGHTS, UT 84121-5073
$110,000.00                                                          $22,500.00
GERADO O. & ROBERTA C. CAMPBELL                                      GERALD & DEBRA MCGREARY
SAN JOSE, CA 95139                                                   WELLFLEET, NE 69170
$244,925.00                                                          $19,000.00
GLENN M. & DAWN M. PETER                                             GRADY LAKE
HANOVER PARK, IL 60133                                               ELMHURST, IL 60126
$36,068.07                                                           $48,000.00
GREGORY J. & DENISE L. WILGENBUSCH                                   HELEN FRIEND
BARTLETT, IL 60103                                                   PLUMAS LAKE, CA 95961
$22,500.00                                                           $5,000.00
HENRY J. FOURIE                                                      HUGH DEPENTHENY O'KELLY
LIVERMORE, CA 94551                                                  SANTA ROSA, CA 95401
$337,326.15                                                          $118,737.45
                     Case 2:12-cr-00315-JAM Document 699 Filed 10/05/18 Page 8 of 11
AO 245B-CAED (Rev. 02/2018) Sheet 5B - Criminal Monetary Penalties
DEFENDANT: LEE LOOMIS                                                                                   Page 8 of 11
CASE NUMBER: 2:12CR00315-1

JAMES & CHRISTINE WELLS                                              JAMES & DANIS STRYKER
EL DORADO HILLS, CA 95762                                            SNOHOMISH, WA 98290
$89,900.00                                                           $100,000.00
JAMES C. & RACQUELLE STASSI                                          JANINE URTZ
YUBA CITY, CA 95991                                                  LAKE STEVENS, WA 98258
$84,389.70                                                           $100,000.00
JEFF D. & MARCI BUXBAUM                                              JEFFERY SATTERTHWAITE
FAIRFAX, IL 22032                                                    LYNNWOOD, WA 95814
$30,000.00                                                           $80,000.00
JEFFREY C.& ELIZABETH G. ENGLAND                                     JEFFREY LEWIS GRECO
EL DORADO HILLS, CA 95762                                            ROSEVILLE, CA 95747-7428
$55,000.00                                                           $35,000.00
JEROME T. & BARBARA D. JONES                                         JOANNE L. MURCHBACH
ELMWOOD PARK, IL 60707                                               WHEATON, IL 60187
$113,400.00                                                          $25,573.98
JOHN & LILLIAN MUSGRAVE                                              JOHN D. & JUDY E. DOUTHITT
CAMINO, CA 95709                                                     MARYSVILLE, WA 98271
$25,000.00                                                           $234,290.00
JOHNNY & SUSAN ROLIN                                                 JONATHAN L. BLODGETT
RANCHO CORDOVA, CA 95670                                             ENUMCLAW, WA 98022
$91,221.91                                                           $68,400.00
JOSEPH & MAJORIE WAYT                                                KAI & RUBY MAN-LIU
SANTA ROSA, CA 95407                                                 BARTLETT, IL 60103
$337,708.02                                                          $47,500.00
KAI T. & ALISA G. LIU                                                KENNETH E. & CHERIE PAQUIN
SUGAR GROVE, IL 60554                                                EL DORADO HILLS, CA 95862
$72,600.00                                                           $81,500.00
KIRK D RICHERT AND MICHELE RICHERT                                   LEE AND JANET HARRINGTON
FOLSOM, CA 95630-9550                                                NAPERVILLE, IL 60565-2252
$88,935.12                                                           $16,426.30
LOUIS E. & DONNA R. HAMPTON                                          LYNNE MAYER
FOLSOM, CA 95630                                                     REDDING, CA 96099
$125,113.40                                                          $53,105.39
MAKHAN S. & RAJINDER K. DHILLON                                      MARCIE L. STERN
YUBA CITY, CA 95991                                                  FAIRFAX, VA 22032-2756
$180,076.49                                                          $20,900.00
MARGARET ERICKSON                                                    MARIE E CHACON
CHICO, CA 95973                                                      SAN JOSE, CA 95132
$11,000.00                                                           $100,000.00
MARK SHANER                                                          MATTHEW NICHOLSON
OROVILLE, CA 95966                                                   NORTH HIGHLANDS, CA 95660
$5,000.00                                                            $181,500.00
MAYNARD M. EYESTONE                                                  MICHAEL B. AND LAURA D. CAMPBELL
SHORELINE, WA 98133                                                  MARYSVILLE, WA 98271
$37,400.00                                                           $44,460.75
MICHAEL D. ANNEN                                                     MICHAEL N. & SALLY EVANS
LISLE, IL 60532                                                      SACRAMENTO, CA 95833
$279,000.00                                                          $99,400.00
MOHAMMAD & JULIE DARWISH                                             NANNETTE & ERNEST ALONSO
SUNNYVALE, CA 94087                                                  SHINGLE SPRINGS, CA 95682
$396,398.50                                                          $45,796.64
                     Case 2:12-cr-00315-JAM Document 699 Filed 10/05/18 Page 9 of 11
AO 245B-CAED (Rev. 02/2018) Sheet 5B - Criminal Monetary Penalties
DEFENDANT: LEE LOOMIS                                                                                   Page 9 of 11
CASE NUMBER: 2:12CR00315-1

PATRICK & SARAH LEEVER                                               PATRICK & TINA ANGELL
BARTLETT, IL 60103                                                   ROSEVILLE, CA 95678
$30,000.00                                                           $120,000.00
                                                                     PRIOSMITA CHAKRABORTY AND SOMUYA
PAUL W. & KATHERINE L. THOMPSON
                                                                     BHATTACHARYA
CRYSTAL LAKE, IL 60014
                                                                     PHOENIX, AZ 85014-2013
$48,642.45
                                                                     $70,000.00
RAMON L. & AMY L. RIVERA                                             RANDY &TERESA MURBACH
NORTH AURORA, IL 60542                                               ELLICOTT CITY, MD 21042
$8,000.00                                                            $76,000.00
RANDY PULK                                                           RICHARD & IDALLA JOBE
STANWOOD, WA 98292                                                   LIBERTY LAKE, WA 99019
$61,297.02                                                           $801,694.65
RICHARD A. & GERI PURSEL                                             RICHARD T. AND LENA P. ENG
REDDING, CA 96003                                                    NEW BERLIN, WI 53151
$34,941.04                                                           $250,000.00
ROBERT & JULIE GALL                                                  ROBERT & ROBERTA KNOLES
ROLLING MEADOWS, IL 60008                                            SHERIDAN, CA 95681
$118,315.16                                                          $59,583.61
RODNEY JULIANUS                                                      ROGER P GUTIERREZ
VALLEJO, CA 94591                                                    FOLSOM, CA 95630
$90,926.03                                                           $8,250.00
RONALD R. & SYLVIA D. GAENZLE                                        RONALD YOUNG
SOUTH ELGIN, IL 60177                                                REDDING, CA 96003
$35,281.01                                                           $80,200.00
RUDOLPH & PATRICIA TALIK                                             SCOTT PATTISON
TACOMA, WA 98418                                                     EVERETT, WA 98201
$200,000.00                                                          $30,000.00
SHAWNA & KIM WARNOCK                                                 SIGFREDO S. & BEATRIZ L. SANTOS
SHASTA LAKE, CA 96019                                                MOUNTAIN VIEW, CA 94043
$8,777.67                                                            $300,000.00
STACI D. ROHWER                                                      STEPHEN L. & DEBRA J. GINN
LEHIGH ACRES, FL 33936-5992                                          REDDING, CA 96002
$110,225.90                                                          $250,803.41
STEVEN & BARBARA MELLO                                               STEVEN M. & JOANNE L. MURBACH
ROSEVILLE, CA 95747                                                  WHEATON, IL 60187
$42,900.00                                                           $40,100.46
STEVEN M. MURBACH                                                    SUSAN JAN & RICHARD DAVIS
WHEATON, IL 60187                                                    FOLSOM, CA 95630
$16,520.06                                                           $323,878.35
SUZANNE HAGENER                                                      THERESA ODELL
VERNON HILLS, IL 60061                                               BAINBRIDGE ISLAND, WA 98110
$5,262.04                                                            $151,380.70
THOMAS & ANNETTE KLEVEN                                              TIMOTHY A. & DEBRA L. OLSON
BOTHELL, WA 98021                                                    FAIR OAKS, CA 95628
$86,854.56                                                           $116,860.14
VERR DANIEL                                                          WALIS J AND SYLIVA PARSON
VILLA PARK, IL 60181                                                 LOVES PARK, IL 61111
$28,830.94                                                           $98,000.00
                    Case 2:12-cr-00315-JAM Document 699 Filed 10/05/18 Page 10 of 11
AO 245B-CAED (Rev. 02/2018) Sheet 5B - Criminal Monetary Penalties
DEFENDANT: LEE LOOMIS
CASE NUMBER: 2:12CR00315-1
                                                                                                 Page 10 of 11

WILLIAM & TERESA ELLIOTT                                             WILLIAM & THERESA PARCELL
FOLSOM, CA 95630                                                     SACRAMENTO, CA 95814
$87,750.00                                                           $40,000.00
                    Case 2:12-cr-00315-JAM Document 699 Filed 10/05/18 Page 11 of 11
AO 245B-CAED (Rev. 02/2018) Sheet 6 - Schedule of Payments
DEFENDANT: LEE LOOMIS
CASE NUMBER: 2:12CR00315-1
                                                                                                                                Page 11 of 11
                                                       SCHEDULE OF PAYMENTS
        Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A.               Lump sum payment of $               due immediately, balance due
                          Not later than      , or
                          in accordance               C,        D,        E,or           F below; or
B.               Payment to begin immediately (may be combined with                 C,           D,    or   F below); or

C.               Payment in equal    (e.g. weekly, monthly, quarterly) installments of $       over a period of      (e.g. months or
                 years), to commence     (e.g. 30 or 60 days) after the date of this judgment; or

D.               Payment in equal    (e.g. weekly, monthly, quarterly) installments of $    over a period of      (e.g. months or
                 years), to commence     (e.g. 30 or 60 days) after release from imprisonment to a term of supervision; or

E.               Payment during the term of supervised release/probation will commence within      (e.g. 30 or 60 days) after release
                 from imprisonment. The court will set the payment plan based on an assessment of the defendants ability to pay at
                 that time; or

F.               Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

         The defendant shall pay the cost of prosecution.

         The defendant shall pay the following court cost(s):

         The defendant shall forfeit the defendant's interest in the following property to the United States:
         The preliminary order of forfeiture filed 5/9/2016 is herby mde final as to this defendant and shall be incorporated into the
         judgment.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court
costs.
